                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS

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D.V.D, et al.,                         )
                                       )
               Plaintiffs,             )
                                       )                   Civil Action No.
      v.                               )                   25-10676-BEM
                                       )
U.S. DEPARTMENT OF HOMELAND            )
SECURITY, et al.,                      )
                                       )
               Defendants.             )
_______________________________________)

                         MEMORANDUM AND ORDER
            ON PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

MURPHY, J.

       Plaintiff O.C.G. has no known criminal history. After suffering multiple violent attacks,

O.C.G. sought protection in the United States, where an immigration judge granted him

withholding of removal from his native country, Guatemala. This means that the immigration

judge found it more likely than not that O.C.G. would suffer serious harm if sent back to

Guatemala. Two days later, and without any notice, O.C.G. was placed on a bus and sent to

Mexico, a country where he was previously held for ransom and raped. O.C.G. had said during

his immigration proceedings that he was afraid of being sent to Mexico, and even presented

evidence of the violence he had experienced there. But the immigration judge told O.C.G.—

consistent with this Court’s understanding of the law—that he could not be removed to a country

other than his native Guatemala, at least not without some additional steps in the process. Those

necessary steps, and O.C.G.’s pleas for help, were ignored. As a result, O.C.G. was given up to

Mexico, which then sent him back to Guatemala, where he remains in hiding today.
       This is the second time Plaintiffs have asked this Court to order the return of O.C.G. The

first time, the Court declined to do so because the facts were in dispute—Defendants had submitted

a declaration, made under oath, that O.C.G., prior to removal, affirmatively stated that he had no

fear of being sent to Mexico. Dkt. 31-1 ¶ 3. O.C.G. adamantly contested this fact, submitting his

own declaration stating that he was only told about Mexico essentially as it was happening and

that he begged to speak to his attorney but was denied. Dkt. 8-4 ¶ 9. Because of this factual

disagreement, the Court declined to conclusively credit O.C.G.’s account and instead ordered

discovery of additional evidence. Dkt. 64 at 47–48; Dkt. 80.

       Last week, on May 16, 2025, Defendants acknowledged an “error” in their previous filings

and statements to the Court. Dkt. 103 at 2. Defendants admitted, hours before the scheduled

deposition of the witness who could allegedly verify the facts included in the prior declaration

made under oath, that, in fact, there was no such witness and therefore no reliable basis for the

statements put forward by Defendants. Defendants apparently cannot find a witness to support

their claim that O.C.G. ever said that he was unafraid of being sent to Mexico. The only evidence

before the Court therefore is O.C.G.’s uncontroverted assertion that he was given no notice of his

transfer to Mexico and no opportunity to explain why it would be dangerous to send him there.

Defendants’ retraction of their prior sworn statement makes inexorable the already-strong

conclusion that O.C.G. is likely to succeed in showing that his removal lacked any semblance of

due process, see Dkt. 40 at 6; Dkt. 64 at 42 n.43, and it otherwise alleviates concern about the

appropriateness of relief.   Accordingly, Plaintiffs’ motion for a preliminary injunction is

GRANTED.

       Although a preliminary injunction is always an exceptional remedy, never awarded as of

right, Peoples Federal Sav. Bank v. People’s United Bank, 672 F.3d 1, 8–9 (1st Cir. 2012), the




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Court notes that this result is not otherwise so extraordinary. Courts, including district courts,

regularly find that return is the appropriate remedy when a removal is found to be unlawful. See,

e.g., Grace v. Whitaker, 344 F. Supp. 3d 96, 144–45 (D.D.C. 2018) (ordering return of non-citizen

plaintiffs entitled to further process prior to removal), aff’d in relevant part, rev’d in part and

remanded sub nom. Grace v. Barr, 965 F.3d 883 (D.C. Cir. 2020); L. v. U.S. Immigr. & Customs

Enf’t, 403 F. Supp. 3d 853, 860–61, 863–68 (S.D. Cal. 2019) (ordering government to allow return

of parents wrongfully prevented from petitioning for asylum); see also Noem v. Abrego Garcia,

145 S. Ct. 1017, 1018 (2025) (denying stay of district court order to facilitate return of non-citizen

wrongfully removed); J.O.P. v. United States Dep’t of Homeland Sec., 2025 WL 1431263, at *1

(4th Cir. May 19, 2025) (denying stay of district court order to facilitate return of non-citizens

removed in violation of a settlement agreement).                   Defendants acknowledge that there are

procedures in place for facilitating return upon a court’s order. See Dkt. 64 at 30 n.34. No one

has ever suggested that O.C.G. poses any sort of security threat. In general, this case presents no

special facts or legal circumstances, only the banal horror of a man being wrongfully loaded onto

a bus and sent back to a country where he was allegedly just raped and kidnapped.

       Finally, it must be said that, while mistakes obviously happen, the events leading up to this

decision are troubling. The Court was given false information, upon which it relied, twice, to the

detriment of a party at risk of serious and irreparable harm. Defendants then exacerbated that risk

by placing O.C.G.’s full name on the public docket, in violation of this Court’s Order, Dkt. 13. 1

See Dkt. 105 at 8. The Court has ordered discovery, including depositions of the individuals

involved in the false declaration and underlying data entries, to better understand how this

happened.


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           The Court accepts Defendants’ apology, Dkt. 113 at 1 n.1, and finds no further action necessary.



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I.      Factual Background

        O.C.G. is a native and citizen of Guatemala. 2 Dkt. 31-1 ¶ 4. In March 2024, O.C.G. entered

the United States without prior authorization. Id. ¶ 5. O.C.G. alleges that he presented himself for

asylum at the border and was denied an interview. Dkt. 8-4 ¶ 2. In any event, he was deported

shortly thereafter to Guatemala. Id.

        In April 2024, O.C.G. decided to try again and crossed Mexico on his way to the United

States. Id. ¶ 3. There, he was raped and held hostage until a family member paid ransom. Id. In

May 2024, O.C.G. again arrived at the United States and was arrested by Border Patrol. Dkt. 31-1

¶ 5. This time, however, he was referred to an asylum officer after expressing fear of return to

Guatemala. Id. ¶¶ 8–9. That officer determined that O.C.G. had a credible fear of persecution or

torture and initiated withholding-only proceedings, id. ¶ 10, where an immigration judge agreed

and determined that it was more likely than not that O.C.G. would be persecuted or tortured if sent

back to Guatemala, see id. ¶ 11.3 Accordingly, O.C.G. was granted withholding of removal from

Guatemala. Id.

        During the withholding-only proceedings, O.C.G. asked if he might be sent to

Mexico—because he was afraid of being sent to Mexico—and the immigration judge told him,

“we cannot send you back to Mexico, sir, because you’re a native of Guatemala.” Tr. of

June 17, 2024 H’rg at 10:37–13:12.4 During another hearing before the immigration court, O.C.G.

described in detail the violence he experienced while in Mexico. Tr. of Feb. 19, 2025 H’rg at



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           The Court has “broad discretion in deciding what evidence to consider in connection with a motion for
preliminary injunction.” Rice v. Wells Fargo Bank, N.A., 2 F. Supp. 3d 25, 31 (D. Mass. 2014). Generally speaking,
the relevant facts here do not appear to substantially be in dispute.
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            See 8 U.S.C. § 1231(b)(3); 8 C.F.R. § 208.16.
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            The Court has been provided with audio and partial transcripts of O.C.G.’s hearings in immigration court.



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28:48–33:40.     At the close of that hearing, the government’s attorney clarified with the

immigration judge that, because Guatemala was the country of removal designated on O.C.G.’s

order of removal, that was the only relevant country for purposes of the withholding-only

proceedings, and the immigration judge agreed. Id. at 1:23:37–1:25:07.

       Two days after being granted withholding of removal, and with no advanced warning,

O.C.G. was put on a bus and sent to Mexico. Dkt. 8-1 ¶¶ 8–9. According to O.C.G., he begged

the officers to let him call his attorney but was refused. Id. ¶ 9. Until one week ago, Defendants

maintained that O.C.G. verbally stated that he was not afraid of being sent to Mexico, based on

data entries made by immigration officers. See Dkt. 31 at 4. However, after speaking with those

officers, Defendants no longer make that claim. Dkt. 103 at 2.

       In Mexico, O.C.G. was given the option of being detained indefinitely while trying to

obtain asylum there—a country where he has consistently maintained that he faces a significant

risk of violence—or of being sent back to Guatemala—the very country from which an

immigration judge awarded him withholding from removal due to the risk of persecution that he

faced. Dkt. 8-1 ¶ 10. O.C.G. chose Guatemala. Id. He remains there today. Id. ¶ 1.

       Just yesterday, O.C.G. submitted a declaration informing the Court of his current status.

Dkt. 123. He reports living in constant fear of his attackers, id. ¶ 4, being unable to leave the place

where he is staying, id. ¶ 6, not being able to rely on the police to protect him, id. ¶ 7, and not

being able to see his mother for fear of exposing her to violence, id. ¶ 8, among other hardships.

II.    Legal Background

       On March 23, 2025, Plaintiffs filed this action and sought a temporary restraining order

and preliminary injunction, in part, for the return of Plaintiff O.C.G. Dkts. 1, 6–8. The Court




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denied this part of Plaintiffs’ request, recognizing that there was a factual dispute as to the

circumstances surrounding O.C.G.’s removal, Dkt. 64 at 47–48, and ordering discovery, Dkt. 80.

         On May 18, 2025, in the course of that discovery, Defendants filed their “Notice of Errata,”

“correcting” their previous declaration, Dkt. 31-1, regarding the removal of O.C.G. Dkt. 103 at 2.

The original version of the Errata filing included an exhibit that publicly revealed O.C.G.’s full

name and other identifying information, see Dkt. 105 at 8, contrary to this Court’s prior order

concerning the use of pseudonyms, Dkt. 13.

         Shortly thereafter, Plaintiffs moved again for a temporary restraining order and preliminary

injunction. Dkt. 104. Following briefing by both parties, Dkts. 105, 113, the Court heard oral

argument, Dkt. 117, and took the motion under advisement.

III.     Legal Standard

         “[A] preliminary injunction preserve[s] the status quo during the pendency of trial-court

proceedings.” Berge v. Sch. Comm. of Gloucester, 107 F.4th 33, 37 (1st Cir. 2024). The “status

quo” refers to “the last uncontested status which preceded the pending controversy.” Baillargeon

v. CSX Transportation Corp., 463 F. Supp. 3d 76, 82–83 (D. Mass. 2020) (quoting United

Steelworkers of Am., ALF-CIO v. Textron, Inc., 836 F.2d 6, 10 (1st Cir. 1987)). Here, the “status

quo” is properly viewed as the pre-February 21, 2025 status, before O.C.G.’s removal, i.e., “the

last uncontested status . . . preced[ing] the pending controversy.” Id.5

         “A plaintiff seeking a preliminary injunction must establish that he is likely to succeed on

the merits, that he is likely to suffer irreparable harm in the absence of preliminary relief, that the

balance of equities tips in his favor, and that an injunction is in the public interest.” Together


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           Accordingly, as a purely academic matter, the Court corrects itself and agrees with Plaintiffs that this is not
technically a “mandatory” injunction. See Braintree Lab’ys, Inc. v. Citigroup Glob. Markets Inc., 622 F.3d 36, 41 n.5
(1st Cir. 2010). Nevertheless, for the reasons stated below, the Court has applied heightened scrutiny.



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Emps. v. Mass Gen. Brigham Inc., 32 F.4th 82, 85 (1st Cir. 2022) (quoting Winter v. Nat. Res. Def.

Council, Inc., 555 U.S. 7, 20 (2008)). The last two factors “merge in a case like this one, where

the Government is the party opposing the preliminary injunction.” Devitri v. Cronen, 289 F. Supp.

3d 287, 297 (D. Mass. 2018) (citing Nken v. Holder, 556 U.S. 418, 435 (2009)). Likelihood of

success “weighs most heavily” in the preliminary injunction analysis. Ryan v. U.S. Immigr. &

Customs Enf’t, 974 F.3d 9, 18 (1st Cir. 2020).

       “[T]he more drastic the effect of the injunction, the more carefully the district court should

consider staying its hand.” A-Copy, Inc. v. Michaelson, 599 F.2d 450, 451 (1st Cir. 1978); see

also Tom Doherty Assocs., Inc. v. Saban Ent., Inc., 60 F.3d 27, 33–34 (2d Cir. 1995) (requiring

the movant to meet a higher standard where “an injunction will provide the movant with

substantially all the relief sought and that relief cannot be undone even if the defendant prevails at

a trial on the merits”). “But the denial of preliminary relief may in some situations be as fraught

with adverse consequences to plaintiff as the granting of relief is fraught with consequences to

defendant. In such cases, a court may have no choice but to act even though its decision has the

effect of providing most or even all of the ultimate relief in dispute.” A-Copy, 599 F.2d at 451.

Here, the preliminary injunction grants “most or even all,” id., of the ultimate relief sought by

O.C.G. individually. It is not obvious that this relief could be undone. See Tom Doherty, 60 F.3d

at 33–34. Accordingly, the Court has exercised caution and held Plaintiffs to a stringent standard,

as appropriate under the circumstances. See Dkt. 40 at 6, 8; Dkt. 64 at 9, 47–48.

IV.    Discussion

       A.      Likelihood of Success

       O.C.G. is likely to succeed in showing that his due-process rights were violated. This Court

has jurisdiction to hear those claims, and the appropriate remedy is return.




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               1.     Jurisdiction

       The Court has already addressed most of Defendants’ jurisdictional arguments in the

context of Plaintiffs’ first motion for a preliminary injunction. See Dkt. 64 at 10–27. The Court

finds the remainder unpersuasive.

       Defendants argue that O.C.G.’s case defies the underlying motivation behind 8 U.S.C.

§ 1252(g), apparently more so than the class claims. Dkt. 113 at 2 (quoting Reno v. American-Arab

Anti-Discrimination, 525 U.S. 471, 482 (1999) [hereinafter, “AADC”]). The Court reads AADC

differently, see Dkt. 64 at 20 (quoting AADC at 485 & n.9), but in any event, Defendants’ gestalt

argument cannot supersede the plain text of the statute as interpreted by authority binding on this

Court. See id. at 20–21 (citing Kong v. United States, 62 F.4th 608 (1st Cir. 2023)).

       Next, Defendants claim that O.C.G. received “specific warning[s]” of the possibility of

third-country removal during his withholding-only proceedings. Dkt. 113 at 3–4. According to

Defendants, these warnings were sufficient to effectively push any claims O.C.G. might have

regarding third-country removal into the claim-channeling function of 8 U.S.C. §§ 1252(a)(5) and

(b)(9). But the Court has already found that such general warnings are meaningless when the

non-citizen has not received notice of removal as to any particular third country. Dkt. 64 at

17 & n.24. O.C.G. is, in fact, the perfect example of why this is correct—he did present evidence

of his fear of return to Mexico during his withholding-only proceedings, Tr. of Feb. 19, 2025 H’rg

at 28:48–33:40, and even asked the immigration court whether he needed to seek protection from

Mexico as well, Tr. of June 17, 2024 H’rg at 10:37–13:12. To that, the immigration judge told

him—correctly in this Court’s estimation—that he only needed to worry about the country of

removal already identified on his removal order. Id.

       Still looking toward sections 1252(a)(5) and (b)(9), Defendants’ next argument does

highlight one difference between O.C.G.’s circumstances and those of class members not yet


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removed—once O.C.G. was removed, he obviously had notice of his third-country removal.

Dkt. 113 at 4–5. With that notice, Defendants argue, O.C.G. could have moved to reopen his

administrative case. Id.; see also Dkt. 64 at 14–17 (explaining motions to reopen). 6 This would,

according to Defendants, make O.C.G.’s claim subject to the channeling provisions.

        In reality, O.C.G.’s post factum notice is a distinction without a difference. As an initial

matter, O.C.G. could not have moved to reopen his immigration case, as he was subject to a

reinstated order of removal. See Garcia Sarmiento v. Garland, 45 F.4th 560, 564 (1st Cir. 2022)

(“[P]ersons subject to reinstated removal orders following unlawful reentry are barred from

reopening their orders of removal.” (citing Cuenca v. Barr, 956 F.3d 1079, 1088 (9th Cir. 2020))).

Even if O.C.G. could have moved to reopen, it is unclear what precisely that motion would have

said—motions to reopen must be based on evidence that was “not available and could not have

been discovered or presented at the former hearing,” Escobar v. Garland, 122 F.4th 465, 472 (1st

Cir. 2024) (quoting Rivera-Medrano v. Garland, 47 F.4th 29, 35 (1st Cir. 2022)). Here, there was

no new evidence to discover or present; O.C.G. had already testified about the violence he

experienced in Mexico. The awkwardness of trying to imagine how this issue might theoretically

be shoehorned into a motion to reopen only confirms that this is not the type of claim one is

expected to “cram[]” into judicial review of a final order of removal. See Jennings v. Rodriguez,

583 U.S. 281, 293 (2018).

        More fundamentally, Defendants confuse O.C.G.’s claim for the remedy he seeks. As with

every other Plaintiff in this case, O.C.G.’s claim arose the moment he was denied notice and a

meaningful opportunity to present his fear-based claim. For the same reasons as every other


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         Defendants also point out that O.C.G. could still ask the immigration court to reopen sua sponte. Dkt. 113
at 4–5. However, the Court has explained how the theoretical possibility of sua sponte reopening provides no
meaningful relief. Dkt. 64 at 14–16.



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plaintiff, that claim could not have been raised in the immigration proceedings, substantially

because it occurred outside of, and following the conclusion of, those proceedings. Defendants

seem to say that O.C.G. might be able to get his fear-based claims adjudicated some other way.

The Court thinks that is dead wrong, but, even if he could, that would not alter the fact that his

rights were violated in the first place. That wrong calls for a remedy, and the most obvious remedy

is to go back and do it over, with proper notice and an opportunity to be heard.

        Finally, Defendants argue that the Court implicitly “review[s]” the regulations

implementing the Convention Against Torture through its due-process finding. Dkt. 113 at 5

(quoting FARRA § 2242(d)). Defendants point to no regulation that they contend this Court

contradicts, nor do they cite any authority for their expansive understanding of what it means to

“review” regulations. Cf. Khouzam v. Att’y Gen. of U.S., 549 F.3d 235, 258–59 & n.14 (3d Cir.

2008) (finding FARRA § 2242(d) inapplicable where the regulation itself is non-problematic);

Harrington v. Chao, 372 F.3d 52, 59 (1st Cir. 2004) (in agency context, holding that inconsistency

does not arise where a regulation is silent as to a particular issue).

                2.      Merits

        The Court has already found it likely that O.C.G.’s removal lacked due process. See

Dkt. 40 at 6; Dkt. 64 at 42 n.43. Indeed, at no point in this litigation have Defendants put forth an

account of O.C.G.’s removal that would comport with what this Court has found due process

requires. Compare Dkt. 31-1 (March 25, 2025 Declaration of Brian Ortega) ¶ 13 (indicating that

O.C.G. was verbally notified on the day of his removal), with Dkt. 64 (requiring written notice to

both non-citizen and counsel); see also A. A. R. P. v. Trump, 605 U.S. —, 2025 WL 1417281, at

*2 (May 16, 2025) (“Under these circumstances, notice roughly 24 hours before removal, devoid

of information about how to exercise due process rights to contest that removal, surely does not




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pass muster.”). Accordingly, the likelihood that O.C.G. is correct in asserting that his due-process

rights were violated, in this Court’s view, has long hovered near certainty.

       It is therefore somewhat of a misnomer to say that O.C.G.’s likelihood of success has

“increased” on account of Defendants’ new admission of “error” in its Notice of Errata, Dkt. 103

at 2. Due process is, in some sense, a binary—one either receives what the Constitution requires,

or one does not. It has been clear that O.C.G. did not receive what the Constitution requires.

       Nevertheless, O.C.G. seeks injunctive relief, and injunctions require consideration of

equity and prudence. Charlesbank Equity Fund II v. Blinds To Go, Inc., 370 F.3d 151, 162 (1st

Cir. 2004). Until recently, Defendants have maintained that O.C.G. verbally “stated he was not

afraid of returning to Mexico” on the day of his removal. See Dkt. 31-1 ¶ 13. Of course, Plaintiffs

have always disputed this fact. 7 Nevertheless, the Court felt that the possibility that O.C.G.

acquiesced in his own third-country removal warranted further factfinding before the Court

engaged its equitable powers. Dkt. 64 at 47–48.

       Now, Defendants admit that they “cannot identify any officer who asked O.C.G. whether

he had a fear of return to Mexico.” Dkt. 103 at 2 (“advis[ing] the Court of an error in the

March 25, 2025, declaration of Brian Ortega” and submitting a “correct[ed]” declaration). Setting

aside concerns about how this “error,” id., came to be a central tenet of Defendants’ case, its

renunciation relieves the Court of fear that it might be overextending itself in granting this remedy.




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           Dkt. 8-4 ¶ 9 (Declaration of O.C.G.):

                  After I was taken out of the prison the immigration officer told me that I was being deported
                  to Mexico. I was so scared and surprised. I told him that I had won my case and showed
                  him the order the judge gave me. But the immigration officer said the order had expired.
                  I begged him to let me call my attorney but he said it was too late to call anyone now.




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See also Grace, 344 F. Supp. 3d at 144–45; L. v. U.S. Immigr. & Customs Enf’t, 403 F. Supp. 3d

at 860–61, 863–68; Abrego Garcia, 145 S. Ct. at 1018; J.O.P., 2025 WL 1431263, at *1.

         B.       Irreparable Harm

         The Court has no reason to doubt the immigration judge’s finding that O.C.G. is more

likely than not to be persecuted if he stays in Guatemala.8 Nor does the Court question the sincerity

of O.C.G.’s sworn declarations, endorsed by counsel. See Dkts. 8-4, 123.

         Defendants make no specific argument regarding irreparable harm in their brief. Dkt. 113

at 6–7. At oral argument, in response to inquiry from the Court, Defendants stated only that this

case calls for heightened scrutiny and that the Court should consider O.C.G.’s “choice” to go back

to Guatemala over indefinite detention in Mexico, a country where he has consistently maintained

that he faces a significant risk of violence, see Dkt. 8-4 ¶¶ 3, 9–10. The Court does take this fact

into account but finds that it likely says more about O.C.G.’s options than his preferences.

         O.C.G. daily risks not only loss of life but “of all that makes life worth living.” Ng Fung

Ho v. White, 259 U.S. 276, 284 (1922) (J., Brandeis). This factor militates strongly in favor of

granting the injunction.

         C.       Balance of Equities and Public Interest

         The Court recognizes that the public has an interest both in preventing wrongful removals,

Nken v. Holder, 556 U.S. 418, 436 (2009), and in the prompt execution of removal orders, id.

“There is, of course, a strong public interest in the protection of constitutional rights.” Harris v.

Adams, 757 F. Supp. 3d 111, 144 (D. Mass. 2024).




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            Defendants’ inadvertent exposure of O.C.G.’s identity, while now remedied on the docket, only heightens
concern as a bell that perhaps cannot be un-rung given the permanent nature of the internet. It is of little comfort that
Plaintiffs appear to have done a thorough and diligent job of getting the information removed as fast as possible from
major sources. See Dkt. 105 at 3, 8, 17–18 & n.8.



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         As with irreparable harm, Defendants make no argument that an injunction would go

against the public interest or otherwise be unduly burdensome. Dkt. 113 at 6–7. On balance, the

Court finds that the public benefits from living in a country where rules are followed and where

promises are kept. Rules are tedious and frustrating, but they also keep us fair and honest. At oral

argument, Defendants’ counsel confirmed that it is “the policy of the United States not to expel,

extradite, or otherwise effect the involuntary return of any person to a country in which there are

substantial grounds for believing the person would be in danger of being subjected to torture.”

FARRA § 2242(a). The return of O.C.G. poses a vanishingly small cost to make sure we can still

claim to live up to that ideal.

V.       Conclusion

         The Court finds that all four preliminary injunction factors weigh in favor of granting the

injunction. Accordingly, Plaintiffs’ motion for preliminary injunction is GRANTED. 9

         Defendants are hereby ORDERED to take all immediate steps, including coordinating with

Plaintiffs’ counsel, to facilitate10 the return of O.C.G. to the United States. Defendants shall file a

status report within five days of this Order updating the Court as to the status of O.C.G.’s return.

         The Court exercises its discretion to waive the requirement to post a bond under Rule 65(c).

See, e.g., Int’l Assoc. of Machinists and Aerospace Workers v. Eastern Airlines, 925 F.2d 6, 9 (1st

Cir. 1991) (finding “ample authority for the proposition that the provisions of Rule 65(c) are not



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             Plaintiffs’ motion for a temporary restraining order is therefore denied as moot.
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            The Court notes that “facilitate” in this context should carry less baggage than in several other notable
cases. O.C.G. is not held by any foreign government. Defendants have declined to make any argument that facilitating
his return would be costly, burdensome, or otherwise impede the government’s objectives. The Court anticipates that
Defendants will take at least the same level of action as is routine to return lawfully removed aliens. See ICE Policy
Directive No. 11061.1, § 3.1, Facilitating the Return to the United States of Certain Lawfully Removed Aliens
(Feb. 24, 2012). Given that this Court has found that Plaintiffs are likely to succeed in showing that O.C.G.’s removal
was not lawful, there is no reason for Defendants to take less action than they would when returning a lawfully
removed alien.



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mandatory and that a district court retains substantial discretion to dictate the terms of an injunction

bond”).

So Ordered.


                                                    /s/ Brian E. Murphy
                                                    Brian E. Murphy
Dated: May 23, 2025                                 Judge, United States District Court




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